          Case 5:14-cv-00180-FB Document 263 Filed 03/11/19 Page 1 of 5



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


IAS SERVICES GROUP, LLC                       §
       Plaintiff/Counter-Defendant            §
                                              §
v.                                            §
                                              §
JIM BUCKLEY & ASSOCIATES, INC.;               §       Civil Action No. 5:14-cv-180-FB
JAMES BUCKLEY, Individually and as            §
Co-Trustee of the Buckley Family Trust        §
dated 06/21/2014, and BARBARA                 §
BUCKLEY, Individually and as Co-              §
Trustee of the Buckley Family Trust           §
dated 06/21/2014                              §
                                              §
          Defendants/Counter-Plaintiffs       §


     JBA’S RESPONSE IN OPPOSITION TO IAS’S MOTION FOR ADVISORY JURY

       Defendants Jim Buckley & Associates (“JBA”), James Buckley and Barbara Buckley

file the following response to IAS Service Group’s Motion for Advisory Jury, and respectfully

request that the Court deny IAS’s motion as an inefficient and unfair drain on both JBA and

this Court’s resources.

       As IAS recognizes, empaneling an advisory jury is discretionary. IAS Br. at 2-3; see also

Forrest v. Omega Protein, Inc., 3:11CV92, 2011 WL 4352302, at *3–4 (E.D. Va. Sept. 16, 2011)

(“The use of an advisory jury under Rule 39(c) of the Federal Rules of Civil Procedure lies

within the discretion of the Court and is not a matter of right.”). The paramount consideration in

determining whether to empanel an advisory jury is to weigh “carefully the interests of justice

and the interests of judicial economy.” See Dewey Electronics Corp. v. Montage, Inc., 117

F.R.D. 73, 75 (M.D.Pa. 1987). Neither interest is served by an advisory jury.




JBA’s Response to IAS’s Motion for an Advisory Jury                                         Page 1
            Case 5:14-cv-00180-FB Document 263 Filed 03/11/19 Page 2 of 5



       As to the interest of justice, because the parties contractually bargained for a jury waiver,

trying the only remaining issue left in this remanded case before an advisory jury would be

severely prejudicial to JBA. When negotiating the APA, IAS insisted that the parties fix venue

before the federal courts of the Western District of Texas. JBA agreed, in exchange for the

addition of a contractual jury waiver provision.       This concession achieved the economies

attendant in trying a case to the bench, rather than a jury. See Rosen v. Dick, 83 F.R.D. at 544

(“A bench trial always moves more expeditiously than a jury trial.”).

       Since this lawsuit was filed, JBA and its counsel have spent countless hours and millions

of dollars traveling from California to try this case. Now, after almost five years of litigation,

under the guise of Rule 39(c), IAS seeks to eliminate the economy the parties bargained for. IAS

ignores that there is only one discrete, remanded issue left to try, and that remaining fraudulent

inducement inquiry turns on the testimony of only two witnesses—Mr. Cochran and Mr.

Buckley. To introduce an advisory jury at this late stage would require the parties to re-litigate

expensive evidentiary issues that were avoided by trying the matter to the bench in the first

instance.

       For example, the Court will recall that because the case was being tried to the bench, both

parties were allowed to introduce evidence that other witnesses would have had to authenticate.

If an advisory jury is granted, both parties would likely have to call additional witnesses in order

to introduce the records that the Court allowed in the first trial. This will require additional

subpoenas, testimony and time that can easily be avoided without a jury. See Dewey Electronics,

117 F.R.D. at 75 (recognizing that “a jury trial's requirements of openings, summations and jury

instructions would be replaced by a trial brief in a bench trial, with a concomitant saving of




JBA’s Response to IAS’s Motion for an Advisory Jury                                           Page 2
            Case 5:14-cv-00180-FB Document 263 Filed 03/11/19 Page 3 of 5



judicial resources”).    This vitiates the bargained-for economy the contractual jury waiver

provides.

       Introducing an advisory jury would also require the Court and counsel to expend

unnecessary time and resources engaging in the evidentiary objections, motions in limine, and

other procedural mechanisms required in a jury trial. Even more time consuming will be the

significant effort required to apply advisory jury findings to the Court’s findings of fact and

conclusions of law—“thus nullifying the savings of time and resources claimed by” IAS. Dewey

Electronics, 117 F.R.D. at 75 (refusing to empanel an advisory jury to assist the court in making

credibility determinations); see also Omega Protein, 2011 WL 4352302, at *4 (concluding that

“[a]n advisory jury would not help in [making independent findings of fact], and . . . empaneling

a jury in an advisory capacity would result in an inefficient use of judicial resources”).

        For these reasons JBA respectfully requests that the Court deny IAS’s motion, and

proceed to trying the remaining fraudulent inducement issue efficiently and expeditiously.

                                               Respectfully submitted,

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JBA’s Response to IAS’s Motion for an Advisory Jury                                          Page 3
          Case 5:14-cv-00180-FB Document 263 Filed 03/11/19 Page 4 of 5




                                  CERTIFICATE OF SERVICE

      I certify that on March 11, 2019, the foregoing documents has been served via the Court's
ECF system to the following counsel for IAS:

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JBA’s Response to IAS’s Motion for an Advisory Jury                                      Page 4
          Case 5:14-cv-00180-FB Document 263 Filed 03/11/19 Page 5 of 5




JBA’s Response to IAS’s Motion for an Advisory Jury                       Page 5
